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                                   8                                 UNITED STATES DISTRICT COURT
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                                                                    NORTHERN DISTRICT OF CALIFORNIA
                                  10
                                                                              SAN JOSE DIVISION
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                                  12    UNITED STATES,                                       Case No. 13-CR-00690-LHK
Northern District of California
 United States District Court




                                  13                   Plaintiff,                            ORDER DENYING MOTION TO
                                                                                             RECONSIDER SENTENCE
                                  14            v.
                                                                                             Re: Dkt. No. 29
                                  15    BROUSSARD,
                                  16                    Defendant.
                                  17

                                  18          Before the Court is Defendant Jamal Broussard’s “Motion for Consideration Pursuant to

                                  19   18 U.S.C. § 3553(a) and 18 U.S.C. § 3582(b). ECF No. 29 (“Mot.”). In the motion, Defendant

                                  20   asks the Court to “reconsider” his 144 month sentence for transportation of minors to engage in

                                  21   criminal sexual activity “in light of his post-conviction behavior.” Mot. at 4. Specifically,

                                  22   Defendant states that since his conviction, Defendant has “been involved with positive

                                  23   [i]nstitutional programming” such as “Adult Continuing Education (ACE) Courses” and “has not

                                  24   been a disciplinary problem.” Mot. at 2–3. On the basis of this post-conviction behavior,

                                  25   Defendant seeks reconsideration of his sentence “pursuant to 18 U.S.C. [§] 3553(a) & [§]

                                  26   3582(b).” Id. at 1.

                                  27          However, for the reasons stated below, neither § 3553(a) nor § 3582(b) is an appropriate

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                                   1   basis to reduce Defendant’s sentence. First, pursuant to Defendant’s binding plea agreement,

                                   2   Defendant waived his right to “seek relief under 18 U.S.C. § 3582.” Plea Agreement ¶ 5. “A

                                   3   defendant may validly waive constitutional and statutory rights as part of the plea bargaining

                                   4   process.” United States v. Ruiz-Guzman, No. 01-440-HA-01, 2007 WL 1362349, at *1 (D. Or.

                                   5   May 4, 2007). Defendant’s waiver of his statutory rights was made freely and knowingly. Because

                                   6   Defendant has waived his right to seek relief under 18 U.S.C. § 3582, the Court will not consider

                                   7   this ground for relief.

                                   8           Defendant’s second ground for relief, 18 U.S.C. § 3553, is inapposite. Section 3553 merely

                                   9   sets forth the factors that a district court must consider in imposing a sentence. The Court fully

                                  10   considered these factors on August 13, 2014 at the time of sentencing, which was the appropriate

                                  11   time to do so. ECF No. 27. Section 3553 does not provide a defendant the right to challenge a

                                  12   sentence after it has been imposed. Therefore, 18 U.S.C. § 3553 cannot serve as a basis for
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                                  13   reconsidering Defendant’s sentence.

                                  14           Moreover, the fact that since his conviction, Defendant has “been involved with positive

                                  15   [i]nstitutional programming” such as “Adult Continuing Education (ACE) Courses” and “has not

                                  16   been a disciplinary problem,” Mot. at 2–3, does not warrant a reduction in his sentence.

                                  17           For the foregoing reasons, Defendant’s motion for reconsideration of his sentence is

                                  18   DENIED.

                                  19   IT IS SO ORDERED.

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                                  21   Dated: November 29, 2016

                                  22                                                    ______________________________________
                                                                                        LUCY H. KOH
                                  23                                                    United States District Judge
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